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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     ORDER

                                                                     05-CR-6161L

                       v.

DAVID FINNMAN,


                              Defendant.
________________________________________________


       This Court previously sentenced David Finnman (“Finnman”), and he has been on supervised

release, which is scheduled to terminate on November 18, 2012. Defendant has been supervised in

Arizona, where he now resides.

       By letter dated September 14, 2012, defendant’s counsel moves this Court to terminate

Finnman’s supervised release early. According to counsel’s letter, neither the supervising probation

officer nor the Government object to the early termination, although the Government prefers the

termination occur on or about November 1, 2012.

       After due consideration, the supervision of David Finnman is hereby terminated early,

effective October 18, 2012.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge
Dated: Rochester, New York
       September 21, 2012.
